 

Case 3:17-cv-01868-RDM Document 22 Filed 09/26/18 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DARLENE D. ACOSTA

Plaintiff, ;
v. : -3:17-CV-1868 Fi
: (JUDGE MARIANI) ScRane
MIRACLE MOTORS, INC., et al. ON

Defendants. p
ORDER

AND NOW, THIS Aw DAY OF SEPTEMBER, 2018, Arbitrator John Paul
Simpkins, Esq., having reported to the Court that the above-captioned action has been
settled, IT IS HEREBY ORDERED THAT:

1. This action is DISMISSED without costs and without prejudice to the right, upon
good cause shown within sixty (60} days, to reinstate the action if settlement is not
consummated.

2. The Clerk of Court is directed to mail a copy of this Order to Attomey Simpkins at the

address set forth on the docket sheet.

 

 

Robel.D. Marian
United States District Judge
